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 AO 91 (Rev. 11/11) Criminal Complaint


                                         UNITED STATES DISTRICT COURT
                                                                    for the
                                                       SouthernDistrict
                                                   __________   Districtofof__________
                                                                             Texas

                   United States of America                             )
                              v.                                        )
                                                                        )       Case No.
                Samuel QUEVEDO-LOPEZ (52)
                                                                        )                               L-22-MJ-
           San Miguel De Allende, Guanajuato, Mexico
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                  August 26, 2022                  in the county of                       Webb                  in the
     Southern          District of             Texas              , the defendant(s) violated:

             Code Section                                                          Offense Description
                                              Whoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
18 USC 1001                                   Government of the United States, knowingly and willfully
                                              (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
                                              (2) makes any materially false, fictitious, or fraudulent statement or representation; or
                                              (3) makes or uses any false writing or document knowing the same to contain any materially false,
                                              fictitious, or fraudulent statement or entry.

          This criminal complaint is based on these facts:
On or about August 26, 2022, at approximately 8:59pm, defendant, Samuel QUEVEDO-LOPEZ, a citizen & national of Mexico
applied for admission into the U.S. at the Lincoln-Juarez Port of Entry in Laredo, TX, as a passenger on a bus. At primary, defendant
presented a counterfeit certificate of citizenship bearing his name & photograph to CBP Officer Priscilla Torres, Defendant claimed
ownership of the document & stated he was traveling to Dallas, TX. CBPO Torres noticed document discrepancies & referred
defendant to secondary. Secondary inspection was conducted by CBPO Faret Mercado Garcia. CBPO Garcia asked defendant if he was
owner of the document & where was he traveling to. Defendant stated the document was his & he was traveling to Dallas, TX to see
his children. CBPO Garcia asked defendant if he was a lawful permanent resident at one time. Defendant stated he was told instead he
could get his U.S. Citizenship by filling out paperwork & he would get the document by mail. Defendants biometrics were searched in
CBP database systems resulting in four prior apprehensions by U.S. Border Patrol. CBP database system identify defendant as Samuel
QUEVEDO-LOPEZ a citizen of Mexico born in Guanajuato, Mexico. Facts are based on the defendant's sworn statement & records of
U.S. Customs & Border Protection. The defendant was paroled into the United States & an Immigration hold has been placed.

              Continued on the attached sheet.
                                                                                                         /s/ Jose C. Luna
                                                                                                      Complainant’s signature

                                                                                            Jose C. Luna, CBP Enforcement Officer
                                                                                                       Printed name and title

 Sworn to before me and signed in my presence.


 Date:          August 29, 2022
                                                                                                          Judge’s signature

 City and state:                   Laredo, Texas                                      Christopher Dos Santos              ,U.S. Magistrate Judge
                                                                                                       Printed name and title
